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IN THE DISTRICT COURT OF THE UNITED STATES
FOR THE DISTRICT OF NEW MEXICO
UNITED STATES OF NEW MEXICO,
Plaintiff,
vs. . CR No. 14-03609-JB
BENTLEY A. STREETT,
Defendant.

ORDER ALLOWING WITHDRAWAL AS COUNSEL OF RECORD
AND FOR SUBSTITUTION OF COUNSEL

THIS MATTER coming before the Court upon the Counsel’s Sealed Motion for
Withdrawal as Counsel of Record and Substitute Counsel, and the Court having reviewed said

Motion and otherwise being fully advised in the premises, FINDS that the Motion is well-taken
and

should be granted.

IT IS HEREBY ORDERED that Martin Lopez, HI, P. C. (Martin Lopez, III) and Harry

    

Zimmerman be allowed to withdraw as counsel of régord for Defendant Bentley A. Streett.

QO, Ka
D STATES DISTRIQT RODGE
Approved:

Electronically filed motion 2/4/20
Martin Lopez, III
Attorney for Defendant Streett

Electronically filed motion 2/4/20
Harry Zimmerman
Attomey for Defendant Streett

The Government takes no position 2/4/20
Sarah Mease, AUSA

 

 
